Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 1 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 2 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 3 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 4 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 5 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 6 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 7 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 8 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 9 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 10 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 11 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 12 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 13 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 14 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 15 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 16 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 17 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 18 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 19 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 20 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 21 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 22 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 23 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 24 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 25 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 26 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 27 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 28 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 29 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 30 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 31 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 32 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 33 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 34 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 35 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 36 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 37 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 38 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 39 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 40 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 41 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 42 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 43 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 44 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 45 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 46 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 47 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 48 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 49 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 50 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 51 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 52 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 53 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 54 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 55 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 56 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 57 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 58 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 59 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 60 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 61 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 62 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 63 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 64 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 65 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 66 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 67 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 68 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 69 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 70 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 71 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 72 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 73 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 74 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 75 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 76 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 77 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 78 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 79 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 80 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 81 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 82 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 83 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 84 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 85 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 86 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 87 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 88 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 89 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 90 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 91 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 92 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 93 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 94 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 95 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 96 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 97 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 98 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 99 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 100 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 101 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 102 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 103 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 104 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 105 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 106 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 107 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 108 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 109 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 110 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 111 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 112 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 113 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 114 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 115 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 116 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 117 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 118 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 119 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 120 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 121 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 122 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 123 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 124 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 125 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 126 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 127 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 128 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 129 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 130 of 131
Case 3:22-cv-01831-KM Document 1 Filed 11/16/22 Page 131 of 131
